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                       IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLUMBIA

UNITED STATES OF AMERICA,

               v.                            Criminal Action No. 19-cr-18 (ABJ)

ROGER J. STONE, JR.,

                       Defendant.

                           ROGER J. STONE, JR.’s RESPONSE TO
                          COURT’S JULY 13, 2020 MINUTE ORDER

       As reflected in ECF 393-1, the Executive Grant of Clemency, issued on July 10, 2020,

commutes the entirety of the sentence imposed on Roger J. Stone, Jr. in this action.

Dated: July 13, 2020

Respectfully Submitted,

 /s/ Seth Ginsberg                                /s/ Grant J. Smith
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